    Case No. 1:11-cv-02106-PAB-CBS Document 78-15 filed 10/24/13 USDC Colorado pg 1
                                         of 1

                                                       R Sll.00
                         1皿 Ⅲ‖     Ⅲ
                                1柵 ￨‖
                         2011112355
                                     ‖ⅢD 30.00
                                        lll11胴 IⅧ
                                       JUD                                                flEo 0 5 2ol:
                         12ノ 12/2011  1 1144=15 AM l Page(s)
                              3effe rson county′ CoLorado

         COMBINED COURT. 」EFFERSON COUNTY          COLORAD0
         0ourt Address
         100 」efferson County Parkway

r        Golden, C0 80401‐ 6002
                                                                       Ca se Nur「・ber:
                                                                       Dr v.   5
                                                                                         1lCV‑002134



         Plainti ff     MAGNANI′    GEORGE
         Defendant      DALTON. MARIE



                                         TRANSCRIPT OF 」υOCMENT


         Original     」udgment Amount        S910.356 44 Judgment Date: November 18. 2011
         Revi Ved 」udgment Amount̲                  5 00 Judgment Date:
         」udgment Status           UNSATISFIED
         Additi ona] Rema rks
         3UDGMENT PLUS ATTY'S FEES & COSTS T0 8E ASSESSED HEREAFT[R PLUS
         POST― 」UDGMENTINTEREST FROM THE DATE OF DEFAULT JUDGMENT AT THE RATE OF 8% PER
         ANNUM

         Debtor(s)       MARIE DALTON. 927 COLE STREET. GOLDEN, C0 80401

         Creditor(s): GEORCE       MACNANI




         Balance of Judgment to Date                          $910.356 44
         I hereby certrfy that the above ts a true and complete transcrlpt of the
         Judgment rn the above- referenced case whlch 1s retained tn my offlce




         DATE̲ Decenber 01. 2011



                                               ョ GOVERNMENT
                                               塵   EXHIBIT
                                               ,
                                               奎         15
